Case 3:22-cv-00049-NKM-JCH Document 408-4 Filed 05/21/24 Page 1 of 8 Pageid#: 5368




                              EXHIBIT D
Case 3:22-cv-00049-NKM-JCH Document 408-4 Filed 05/21/24 Page 2 of 8 Pageid#: 5369



                                                                          HUNTON ANDREWS KURTH LLP
                                                                          RIVERFRONT PLAZA, EAST TOWER
                                                                          951 EAST BYRD STREET
                                                                          RICHMOND, VIRGINIA 23219-4074


                                                                          TEL 804 • 788 • 8200
                                                                          FAX 804 • 788 • 8218



                                                                          MAYA M. ECKSTEIN
                                                                          DIRECT DIAL: 804 • 788 • 8788
                                                                          EMAIL: meckstein@HuntonAK.com

   April 10, 2024                                                         FILE NO: 099997.0007105




   VIA FEDERAL EXPRESS AND EMAIL

   Kathryn Wyer
   Federal Programs Branch
   United States Department of Justice
   Civil Division
   1100 L Street, NW, Room 12014
   Washington, D.C. 20005
   kathryn.wyer@usdoj.gov

                    Re:   Touhy Request for Testimony Pursuant to 22 CFR Part 172

   Dear Ms. Wyer:

           As you know, this law firm represents John Doe and Jane Doe (“the Does”), in the litigation
   Doe et al. v. Mast et al., 3:22-cv-00049-NKM-JCH (W.D. Va.) (the “Litigation”). The Litigation
   relates to the Does’ child, Baby Doe, who was in U.S. government custody between September
   2019 and February 2020 at Bagram Airfield in Afghanistan after being recovered following a U.S.
   military operation. Baby Doe was taken by Defendants Joshua Mast and Stephanie Mast from our
   clients’ physical custody in September 2021.

          Pursuant to 22 CFR Part 172, please allow this letter to serve as a request under Touhy v.
   Ragen, 340 U.S. 462 (1951), seeking the Department of State’s authorization of release of official
   information.

          In accordance with 22 CFR § 172.1 et seq, the Does set forth below the bases for this Touhy
   request.

          Background

           As your office is aware, in litigation styled Baby L. v. Esper., et al., No. 3:20-cv-00009
   (W.D. Va. Feb. 26, 2020), U.S. Marine Corps then-Captain Joshua Mast attempted to enjoin the
   U.S. government, including the Department of State, from releasing Baby Doe to the Government
   of the Islamic Republic of Afghanistan (“GIRoA”) for reunification with her family. The federal
   court denied the TRO application in February 2020, and Baby Doe was released to the GIRoA,

                ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON
             LONDON LOS ANGELES MIAMI NEW YORK RICHMOND SAN FRANCISCO TOKYO TYSONS WASHINGTON, DC
                                                www.HuntonAK.com
Case 3:22-cv-00049-NKM-JCH Document 408-4 Filed 05/21/24 Page 3 of 8 Pageid#: 5370




   Kathryn Wyer
   April 10, 2024
   Page 2

   who reunited her with her paternal uncle. The uncle then delegated guardianship of Baby Doe to
   his son and daughter-in-law, our clients John and Jane Doe.

           Nevertheless, the Masts returned to the Fluvanna County Circuit Court and obtained a final
   adoption order over Baby Doe in December 2020 – despite the federal court’s ruling in the Baby
   L. case – without serving notice of these continued proceedings on our clients, who had physical
   and legal custody of Baby Doe. The Masts, acting in their private capacity, also failed to serve
   notice on the U.S. government, which they had similarly failed to notice in their original petitions
   for custody and adoption.

           Simultaneously, the Masts worked through an agent named Kimberley Motley to locate
   and contact our clients in Afghanistan within weeks of Baby Doe’s family reunification. Motley
   was in regular correspondence with the Does during the course of the adoption proceedings and
   before the adoption was finalized, while keeping the adoption proceedings and the identity of the
   Masts secret.

           After the adoption order from the Fluvanna County Circuit Court became final, Joshua
   Mast revealed his identity to our clients, convinced them to bring Baby Doe to the United States
   to obtain supposedly urgent medical care, and placed them on an evacuation flight from Kabul in
   August 2021, all while concealing the existence of the adoption order. He then used the Virginia
   court order to take her away from them soon after they arrived at refugee housing on a U.S. military
   base in Virginia.

           Our clients had raised Baby Doe as their own child for approximately 18 months at that
   point and were not informed of, and have never consented to, her adoption by Joshua Mast and his
   wife Stephanie Mast. The adoption order and current physical custody over Baby Doe were
   effected through fraud and misrepresentation on multiple agencies, on the courts, and on our clients
   themselves. For this reason, our clients petitioned the Fluvanna County Circuit Court to vacate the
   adoption for a number of reasons, including the following:

          (1)       The Court lacked subject matter jurisdiction over the adoption;

          (2)       The Court lacked personal jurisdiction over multiple necessary parties, including
                    the Department of State and the infant at issue;

          (3)       The adoption order was obtained by fraud, as shown through a pattern of material
                    omissions and misrepresentations made by the Masts to multiple courts,
                    government authorities, Petitioners, and other interested parties; and/or

          (4)       The adoption conflicts with the sovereign determination of the U.S. government to
                    recognize the jurisdiction of the Afghan government and provide for family
Case 3:22-cv-00049-NKM-JCH Document 408-4 Filed 05/21/24 Page 4 of 8 Pageid#: 5371




   Kathryn Wyer
   April 10, 2024
   Page 3

                    reunification of a foreign child in a foreign country, which renders the adoption
                    void under the Supremacy Clause of the U.S. Constitution.

           The Fluvanna County Circuit Court did, in fact, vacate the final adoption order on May 3,
   2023, finding that the order was void ab initio.

         Our clients understand that the Department of State was among the agencies of the U.S.
   government, who worked to reunite Baby Doe with her family in Afghanistan.

          In the Litigation, our clients seek, among other relief, a declaratory judgment that:

      •   under the Supremacy Clause of the United States Constitution, the decisions of the United
          States to recognize Baby Doe’s legal status as an Afghan citizen, and to recognize the
          Government of Afghanistan’s jurisdiction over her, are binding and cannot be overridden
          or contradicted by a state court;

      •   at the time that Joshua and Stephanie Mast obtained a custody order for her from the
          Juvenile Court, Baby Doe was not “stateless,” but was an Afghan citizen;
      •   at the time that Joshua and Stephanie Mast obtained an adoption order for her from the
          Circuit Court, Baby Doe was not “stateless,” but was an Afghan citizen;

      •   GIRoA never waived jurisdiction over Baby Doe for the purpose of her custody or adoption
          by Joshua and Stephanie Mast in the United States;

      •   Baby Doe had no connection, let alone a significant connection, to the Commonwealth of
          Virginia at the time that Joshua and Stephanie Mast obtained a custody order for her from
          the Juvenile Court;

      •   Baby Doe had no connection, let alone a significant connection, to the Commonwealth of
          Virginia at the time that Joshua and Stephanie Mast obtained an adoption order for her
          from the Circuit Court;

      •   neither Baby Doe’s biological parents, nor Jane and John Doe, had a significant connection
          with the Commonwealth of Virginia at the time that Joshua and Stephanie Mast obtained
          a custody order for her from the Juvenile Court;

      •   at the time that Joshua and Stephanie Mast obtained the custody order for Baby Doe, she
          was in the physical custody of the United States military in Afghanistan and, therefore, was
          beyond the jurisdiction of the Juvenile Court or any court of the Commonwealth of
          Virginia;
Case 3:22-cv-00049-NKM-JCH Document 408-4 Filed 05/21/24 Page 5 of 8 Pageid#: 5372




   Kathryn Wyer
   April 10, 2024
   Page 4


        •   at the time that Joshua and Stephanie Mast obtained an adoption order for her from the
            Circuit Court, Baby Doe was not living in their home but was in Afghanistan;

        •   under the Supremacy Clause of the United States Constitution, the decision of the United
            States to exercise its foreign affairs powers by allowing Baby Doe’s transfer to the GIRoA
            for family reunification supersedes and nullifies any conflicting state court action;

        •   under the Supremacy Clause of the United States Constitution, a state court lacks authority
            to override the Executive Branch’s foreign policy decision to allow Baby Doe’s transfer to
            the GIRoA for family reunification; and

        •   the decision of the United States to transfer Baby Doe to the GIRoA for family reunification
            was an exercise of the Executive’s foreign affairs power that is binding on state courts.

   I.       Nature and Relevance of Information Sought – 22 CFR § 172.5(a)

            We respectfully request the following testimony and information from your agency:

        1. Deposition testimony from Donna A. Welton.

        2. All communications attached as Exhibit A to Donna A. Welton’s June 8, 2022 Declaration
           in A.A. and F.A. v. J.M. and S.M., No. CL22000186-00.

        3. Letter from Sayed Anwar Sadat to Ms. Welton, attached as Exhibit B to Donna A. Welton’s
           June 8, 2022 Declaration in A.A. and F.A. v. J.M. and S.M., No. CL22000186-00.

        4. Islamic Republic of Afghanistan Ministry of Labor & Social Affairs documents, attached
           as Exhibit A to Donna A. Welton’s November 8, 2022 Declaration in A.A. and F.A. v. J.M.
           and S.M., No. CL22000186-00.

        5. Transcript of interview between MOLSA Uruzgan Rep and Haji Mohammed Ismail, and
           statement by Haji Mohammed Ismail to MOLSA to confirm his identity, both attached as
           Exhibit B to Donna A. Welton’s November 8, 2022 Declaration in A.A. and F.A. v. J.M.
           and S.M., No. CL22000186-00.

        6. All communications attached as Exhibit C to Donna A. Welton’s November 8, 2022
           Declaration in A.A. and F.A. v. J.M. and S.M., No. CL22000186-00.

        7. Letter from Sayed Anwar Sadat to Ms. Welton, attached as Exhibit D to Donna A. Welton’s
           November 8, 2022 Declaration in A.A. and F.A. v. J.M. and S.M., No. CL22000186-00.
Case 3:22-cv-00049-NKM-JCH Document 408-4 Filed 05/21/24 Page 6 of 8 Pageid#: 5373




   Kathryn Wyer
   April 10, 2024
   Page 5

         8. Unclassified Memorandum from SECSTATE WASHDC regarding Transfer of Afghan
            Child, attached as Exhibit E to Donna A. Welton’s November 8, 2022 Declaration in A.A.
            and F.A. v. J.M. and S.M., No. CL22000186-00.

            Purpose:

           The information we seek is for the purpose of demonstrating in the Litigation that, at the
   time that Joshua Mast and Stephanie Mast obtained their custody orders, Baby Doe was not
   “stateless,” but was an Afghan citizen. Further, we seek to demonstrate that the GIRoA never
   waived jurisdiction over Baby Doe for the purpose of her custody or adoption by Joshua Mast and
   Stephanie Mast in the United States, and in fact requested her release to her family, which the
   United States agreed with.

           This is relevant to the proceedings because it strikes at the heart of one of the issues before
   the court: that Joshua and Stephanie Mast provided (and continue to provide) misleading and/or
   fraudulent information to various courts in their effort to adopt a child who was in the custody of
   the United States, and under the jurisdiction of Afghanistan, by implying Joshua Mast was acting
   with the imprimatur of the U.S. government and claiming that the GIRoA did not maintain
   jurisdiction over the child.

   II.      Considerations in determining whether the Department will comply
            with a demand or request. § 22 CFR § 172.8

   Compliance with this request will not be unduly burdensome or otherwise inappropriate
   under the applicable rules of discovery or the rules of procedure governing the matter. § 22
   CFR § 172.8(a)(1) and (a)(2).

   We seek a limited amount of information that can be produced without burdensome review. The
   documents requested herein are all documents that the Department previously provided in related
   court proceedings. We are happy to confer to further limit the scope of information requested as
   needed to reduce the burden on the Department.

   Compliance here is appropriate under the relevant substantive law concerning privilege or
   disclosure of information, as there is no applicable privilege from discovery such as attorney-client
   communication or attorney-work product that is being requested.

   The public interest (§ 172.8(a)(3)) is served through these disclosures as they will help remedy
   material misstatements made to multiple U.S. government agencies and help uphold the
   result of the government’s efforts in the Baby L. litigation.
Case 3:22-cv-00049-NKM-JCH Document 408-4 Filed 05/21/24 Page 7 of 8 Pageid#: 5374




   Kathryn Wyer
   April 10, 2024
   Page 6

   Disclosure of this information would remedy material misstatements made by the Masts to
   multiple government agencies and courts regarding the status of Baby Doe. Additionally, during
   the Baby L litigation, your office took the position that, because the Afghan government did not
   waive jurisdiction over Baby Doe, the Virginia court’s custody order was void for lack of
   jurisdiction, and that taking Baby Doe out of her home country to receive medical treatment in the
   U.S. pursuant to this order would have profound implications on U.S. military and foreign affairs
   interests.

   It is therefore in the public interest to disclose information that will allow a court of record to have
   full information from an authorized government agency regarding a matter with such implications.

   Our clients recognize the need to conserve the time of Department employees for the conduct
   of official business and the need to avoid spending the time and money of the United States
   for private purposes. (§ 172.8(a)(4) and (a)(5)).

   This case, however, involves a child who was the subject of Department of State business, and
   whose custody was disputed in a federal court proceeding to which the Department of State was a
   party. As such, this case is intimately connected to the business of the Department and cannot be
   resolved without accurate information provided by the Department.

   Our clients similarly acknowledge the need to maintain impartiality between private litigants
   in cases where a substantial government interest is not implicated. (§ 172.8(a)(6)).

   However, as your office argued in Baby L., a substantial government interest was implicated
   returning this child to her family. Indeed, the United States has entered multiple Statements of
   Interests and Motions to Intervene in related proceedings in order to exercise and support its
   interest in these proceedings.

   Compliance with our clients’ request will not have an adverse effect on performance by the
   Department of its mission and duties (§ 172.8(a)(7)), and though this issue is likely to be
   controversial, it is directly related to the Department of State’s mission (§ 172.8(a)(8)).

   The abduction of the child by a U.S. military officer and attorney through fraud and abuse of legal
   process to circumvent an allied country’s laws falls squarely within the Department of State’s
   mission of advancing U.S. interests abroad through diplomacy and rule of law.

   Additionally, of course, the Department of State is the lead federal agency with exclusive oversight
   regarding international adoptions. This case manifests innumerable violations of the intercountry
   adoption process, a matter which again relates directly to the Department’s mission in its Office
   of Children’s Issues.
Case 3:22-cv-00049-NKM-JCH Document 408-4 Filed 05/21/24 Page 8 of 8 Pageid#: 5375




   Kathryn Wyer
   April 10, 2024
   Page 7

   If this Touhy request is granted, Defendants will submit a check in advance to Department of State
   for all reasonable costs, including travel expenses, in accordance with 43 CFR § 2.85.

           Please do not hesitate to contact me directly at meckstein@HuntonAK.com and/or 804-
   788-8788 should you require any additional information about this request. Thank you for your
   assistance in this matter.

                                                Sincerely,




                                                Maya Eckstein
